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 Deloitte Transactions and Business Analytics LLP
 191 Peachtree Street, Suite 2000
 Atlanta, GA 30303-1749
 Telephone: 404.631.3455
 Facsimile: 404.443.9555
 Keith Adams

 Valuation and Discovery Services Provider

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
 --------------------------------------------------------------- |

      FINAL FEE APPLICATION BY DELOITTE TRANSACTIONS AND BUSINESS
       ANALYTICS LLP FOR COMPENSATION FOR SERVICES RENDERED AS
     VALUATION AND DISCOVERY SERVICES PROVIDER TO THE DEBTORS FOR
           THE PERIOD FROM MARCH 29, 2017 THROUGH JUNE 30, 2018
 Name of Applicant:                                                    Deloitte Transactions and Business Analytics LLP
 Authorized to Provide Services as:                                    Valuation and Discovery Services Provider
 Date of Retention:                                                    Nunc Pro Tunc to March 29, 2017
 Period for which Compensation and                                     March 29, 2017 through June 30, 2018
 Reimbursement is Sought:
 Amount of Compensation Sought as                                                                          $228,786.30
 Actual, Reasonable, and Necessary:
 Amount of Expense Reimbursement Sought:                                                                             $0.00
 Total Amount of Fees and Expense
 Reimbursement Sought as Actual, Reasonable
                                                                                                            $228,786.30
 and Necessary (100%):
 This is (a)n: ___ monthly ___ interim _X_ final application

 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any,
 are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC
 (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR
 Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250),
 Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global
 Project Services Inc. (8572); Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear
 Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735),
 WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions,
 LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse
 Industry Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry
 Township, Pennsylvania 16066.
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                    PRIOR MONTHLY FEE STATEMENTS FILED

                                  Amounts            Amounts Approved/        Holdback
                                 Requested            Pending Approval        Amounts
Date Filed      Period         Fees    Expenses       Fees      Expenses        Fees
Docket No.     Covered                               (80%)       (100%)        (20%)

 9/8/2017      3/29/17 –
                             $56,571.82    $0.00    $45,257.46     $0.00      $11,314.36
  #1334        6/30/17
 9/14/2017     7/01/17 –
                             $43,487.84    $0.00    $34,790.27     $0.00       $8,697.57
   #1361       7/31/17
10/10/2017     8/1/17 –
                             $15,486.74    $0.00    $12,389.39     $0.00       $3,097.35
  #1497        8/31/17
10/25/2017     9/01/17 –
                             $13,470.34    $0.00    $10,776.27     $0.00       $2,694.07
  #1618        9/30/17
12/06/2017     10/01/17 –
                              $7,299.94    $0.00     $5,839.96     $0.00       $1,459.99
  #1876        10/31/17
01/29/2018     11/01/17 –
                              $5,299.94    $0.00     $4,239.95     $0.00       $1,059.99
  #2314        11/30/17
1/29/2018      12/1/17 –
                              $5,299.94    $0.00     $4,239.95     $0.00       $1,059.99
  #2315        12/31/17
3/12/2018      1/01/18 –
                              $4,908.14    $0.00     $3,926.51     $0.00         $981.63
  #2801        1/31/18

4/10/2018       2/01/18 –
                              $4,669.94    $0.00     $3,735.95     $0.00         $933.99
  #3056        2/29/18
5/08/2018      3/01/18 –
                              $4,669.94    $0.00     $3,735.95     $0.00         $933.99
  #3180        3/31/18
5/31/2018      4/01/18 –
                              $5,509.94    $0.00     $4,407.95     $0.00       $1,101.99
  #3364        4/30/18
6/26/2018      5/01/18 –
                              $4,669.94    $0.00     $3,735.95     $0.00         $933.99
  #3482        5/31/18
7/18/2018      6/01/18 –
                             $57,441.84    $0.00    $45,953.47     $0.00      $11,488.37
  #3598        6/30/18

  Totals                    $228,786.30    $0.00   $183,029.04     $0.00      $45,757.26




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                           CUMULATIVE TIME SUMMARY
                  For the Period of March 29, 2017 through June 30, 2018

                                                   Total       Hourly
  Name                         Position                                    Total Fees
                                                   Hours        Rate
  Adams, Keith                 Partner/Principal     13.60         $640      $8,704.00
  Moss, Kevin                  Partner/Principal      4.50         $640      $2,880.00
  Hannagan, Peter              Senior Manager        26.90         $561     $15,090.90
  Kettles, Sara                Manager               49.60         $521     $25,841.60
  Jones, Colette               Manager                1.90         $473        $898.70
  Cruz, Vinnrique              Senior Consultant      1.90         $406        $771.40
  Barrazotto, Chip             Senior Consultant     81.90         $388     $31,777.20
  Kandukuri, Pavani            Senior Consultant      0.30         $388        $116.40
  Portocarrero, Manuel         Senior Consultant    103.80         $388     $40,274.40
  Ramakrishnan, Swetha         Senior Consultant     35.60         $388     $13,812.80
  Sawyer, Thomas               Senior Consultant      1.20         $388        $465.60
  Abrom, Carisa                Senior Consultant     10.90         $350      $2,968.20
  Cooper, Carla                Senior Consultant     39.70         $350     $13,895.00
  Amey, Felix                  Consultant             0.30         $340        $102.00
  Knowles, Suzanne             Consultant             0.60         $340        $204.00
  Naga, Mokkapati              Consultant             1.00         $340        $340.00
  Tangudu, Praveen             Consultant             1.00         $340        $340.00
  Total Fees                                        374.70                 $158,482.20

  Average Hourly Billing Rate: $422.96




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                           CUMULATIVE FEES BY CATEGORY SUMMARY 2
                            For the Period of March 29, 2017 through June 30, 2018


     Valuation Services
      Project Categories                                                       Total Hours                         Total Fees
      CA – Reports                                                                      1.0                          $340.00
      CA – Scripts                                                                      1.0                          $340.00
      Evidence – Logging & Tracking                                                     0.6                          $204.00
      Interim Goodwill Impairment Test                                                199.5                       $86,821.00
      Preparation of Fee Applications                                                 50.60                       $16,863.20
      Project Management                                                               3.80                        $1,670.10
      Technical Support                                                                0.30                          $102.00
      Trade Name Impairment Test                                                     117.90                       $52,141.90
      Total Fees                                                                     374.70                      $158,482.20



     Discovery Services
      Project Categories                                                       Total Hours                         Total Fees
      User Fees                                                                                                   $37,230.00
      Hosting Fees                                                                                                $33,074.10
      Total Fees                                                                                                  $70,304.10




 2  Pursuant to the Application of Debtors Pursuant to 11 U. S. C. §§ 327(a) and 328 and Fed. R. Bankr. P 2014(a) and 2016, and
 Local Rules 2014-1 and 2016-1 for Authority to Employ and Retain Deloitte Transactions and Business Analytics LLP as
 Valuation and Discovery Services Provider Nunc Pro Tunc to the Petition Date (the “DTBA Retention Application”), DTBA
 provides certain e-discovery services to the Debtors that may be billed according to different metrics than hourly rates, as set forth
 in Appendix B to the Engagement Letter (as such term is defined in the DTBA Retention Application).


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 Deloitte Transactions and Business Analytics LLP
 191 Peachtree Street, Suite 2000
 Atlanta, GA 30303-1749
 Telephone: 404.631.3455
 Facsimile: 404.443.9555
 Keith Adams

 Valuation and Discovery Services Provider

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
 --------------------------------------------------------------- |

        FINAL FEE APPLICATION OF DELOITTE TRANSACTIONS AND BUSINESS
     ANALYTICS LLP FOR COMPENSATION FOR SERVICES RENDERED INCURRED
     AS VALUATION AND DISCOVERY SERVICES PROVIDER TO THE DEBTORS FOR
             THE PERIOD FROM MARCH 29, 2017 THROUGH JUNE 30, 2018

           Deloitte Transactions and Business Analytics LLP (“DTBA” or the “Applicant”),
 valuation and discovery services provider to the above-captioned debtors and debtors-in-
 possession (collectively, the “Debtors”) in these chapter 11 cases, hereby seeks allowance of
 compensation pursuant to section 330 of title 11 of the United States Code (the “Bankruptcy
 Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and
 rule 2016-1 of the Local Rules of the United States Bankruptcy Court for the Southern District of
 New York (the “Local Rules”), for the period commencing March 29, 2017 through and including
 June 30, 2018 (the “Final Application Period”). In support of this final fee application (the “Final
 Application”), DTBA respectfully represents as follows:


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any,
 are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC
 (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR
 Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250),
 Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global
 Project Services Inc. (8572); Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear
 Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735),
 WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions,
 LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse
 Industry Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry
 Township, Pennsylvania 16066.
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                                         JURISDICTION

        1.      The Court has subject matter jurisdiction to consider and determine this matter

 pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

 Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        STATUTORY BASIS

        2.      The statutory predicates for the relief requested herein are: (i) sections 330 and

 331 of the Bankruptcy Code; (ii) rule 2016 of the Bankruptcy Rules; (iii) rule 2016-1 of the Local

 Rules; and (iv) the Compensation Order (as defined below). This Final Application has been

 prepared in accordance with General Order M-447, Amended Guidelines for Fees and

 Disbursements for Professionals in Southern District of New York Bankruptcy Cases, effective

 as of February 5, 2013 (the “Local Guidelines”), and the United States Trustee Guidelines for

 Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11

 U.S.C. § 330, effective January 30, 1996 (the “UST Guidelines” and, together with the Local

 Guidelines, the “Guidelines”). Pursuant to the Guidelines, a certification regarding compliance

 with the Guidelines is attached hereto as Exhibit B.

                                         BACKGROUND

        A. General Background

        3.      On March 29, 2017 (the “Petition Date”), each of the Debtors commenced a voluntary

 case under chapter 11 of the Bankruptcy Code. The Debtors are authorized to operate their

 businesses and manage their properties as debtors in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been

 appointed in these chapter 11 cases.

        4.      The Debtors’ cases are being jointly administered pursuant to Bankruptcy Rule

 1015(b).




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        B. Interim Compensation and the Retention of DTBA

        5.      On May 24, 2017, the Court entered the Order Pursuant to 11 U.S.C. §§ 105(a),

 330, 331, Fed. R. Bankr. P. 2016, and Local Rule 2016-1 Establishing Procedures for Interim

 Compensation and Reimbursement of Expenses of Professionals [Docket No. 544] (the

 “Compensation Order”). Pursuant to the terms of the Compensation Order, retained professionals

 shall, among other things, file interim and final fee applications for approval of fees and expenses

 in accordance with the relevant provision of the Bankruptcy Code, the Bankruptcy Rules, and the

 Local Rules.

        6.      On August 11, 2017, the Debtors filed the Application of Debtors Pursuant to 11

 U.S.C. §§ 327(a) and 328, Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and 2016-

 1 for Authority to Employ and Retain Deloitte Transactions and Business Analytics LLP as

 Valuation and Discovery Services Provider to the Debtors Nunc Pro Tunc to the Petition Date

 [Docket No. 1128] (the “Retention Application”).

        7.      On September 5, 2017, the Court approved the Retention Application and DTBA’s

 retention as valuation and discovery services provider to the Debtors nunc pro tunc to the Petition

 Date [Docket No. 1300] (the “Retention Order”).

        8.      On June 12, 2018, the Debtors filed the Supplemental Application of Debtors

 Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules

 2014-1 and 2016-1 for Authority to Employ and Retain Deloitte Transactions and Business

 Analytics LLP as Valuation and Discovery Services Provider to the Debtors Nunc Pro Tunc to

 January 22, 2018 [Docket No. 3488] (the “Supplemental Retention Application”).

        9.      On June 27, 2018, the Court approved the Supplemental Retention Application

 and DTBA’s expanded retention as valuation and discovery services provider to the Debtors nunc

 pro tunc to January 22, 2018 [Docket No. 3490] (the “Supplemental Retention Order).

  PRIOR FEE STATEMENTS FILED DURING THE FINAL APPLICATION PERIOD

        10.     On September 8, 2017, DTBA filed its first combined monthly fee statement for

 interim allowance and payment of compensation in the amount of $56,571.82 for the period from

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 March 29, 2017 through June 30, 2017 [Docket No. 1334] (the “First Combined Monthly

 Statement Period”) pursuant to the Compensation Order, requesting payment for 80% of fees for

 the First Combined Monthly Statement Period.

        11.    On September 14, 2017, DTBA filed its second monthly fee statement for interim

 allowance and payment of compensation in the amount of $43,487.84 for the period from July 1,

 2017 through July 31, 2017 [Docket No. 1361] (the “Second Monthly Statement Period”)

 pursuant to the Compensation Order, requesting payment for 80% of fees for the Second Monthly

 Statement Period.

        12.    On October 10, 2017, DTBA filed its third monthly fee statement for interim

 allowance and payment of compensation in the amount of $15,486.74 for the period from August

 1, 2017 through August 31, 2017 [Docket No. 1497] (the “Third Monthly Statement Period”)

 pursuant to the Compensation Order, requesting payment for 80% of fees for the Third Monthly

 Statement Period.

        13.    On October 25, 2017, DTBA filed its fourth monthly fee statement for interim

 allowance and payment of compensation in the amount of $13,470.34 for the period from

 September 1, 2017 through September 30, 2017 [Docket No. 1618] (the “Fourth Monthly

 Statement Period”) pursuant to the Compensation Order, requesting payment for 80% of fees for

 the Fourth Monthly Statement Period.

        14.    On December 06, 2017, DTBA filed its fifth monthly fee statement for interim

 allowance and payment of compensation in the amount of $7,299.94 for the period from October

 1, 2017 through October 31, 2017 [Docket No. 1876] (the “Fourth Monthly Statement Period”)

 pursuant to the Compensation Order, requesting payment for 80% of fees for the Fourth Monthly

 Statement Period.

        15.    On January 29, 2018, DTBA filed its sixth monthly fee statement for interim

 allowance and payment of compensation in the amount of $5,299.94 for the period from

 November 1, 2017 through November 30, 2017 [Docket No. 2314] (the “Sixth Monthly




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 Statement Period”) pursuant to the Compensation Order, requesting payment for 80% of fees for

 the Sixth Monthly Statement Period.

           16.   On January 29, 2018, DTBA filed its seventh monthly fee statement for interim

 allowance and payment of compensation in the amount of $5,299.94 for the period from

 December 1, 2017 through December 31, 2017 [Docket No. 2315] (the “Seventh Monthly

 Statement Period”) pursuant to the Compensation Order, requesting payment for 80% of fees for

 the Seventh Monthly Statement Period.

           17.   On March 12, 2018, DTBA filed its eighth monthly fee statement for interim

 allowance and payment of compensation in the amount of $4,908.14 for the period from January

 1, 2018 through January 31, 2018 [Docket No. 2801] (the “Eighth Monthly Statement Period”)

 pursuant to the Compensation Order, requesting payment for 80% of fees for the Eighth Monthly

 Statement Period.

           18.   On April 10, 2018, DTBA filed its ninth monthly fee statement for interim

 allowance and payment of compensation in the amount of $4,699.94       for   the   period   from

 February 1, 2018 through February 29, 2018 [Docket No. 3056] (the “Ninth Monthly Statement

 Period”) pursuant to the Compensation Order, requesting payment for 80% of fees for the Ninth

 Monthly Statement Period.

           19.   On May 8, 2018, DTBA filed its tenth monthly fee statement for interim allowance

 and payment of compensation in the amount of $4,699.94 for the period from March 1, 2018

 through March 31, 2018 [Docket No. 3180] (the “Tenth Monthly Statement Period”) pursuant to

 the Compensation Order, requesting payment for 80% of fees for the Tenth Monthly Statement

 Period.

           20.   On May 31, 2018, DTBA filed its eleventh monthly fee statement for interim

 allowance and payment of compensation in the amount of $5,509.94 for the period from April 1,

 2018 through April 30, 2018 [Docket No. 3364] (the “Eleventh Monthly Statement Period”)

 pursuant to the Compensation Order, requesting payment for 80% of fees for the Elventh Monthly

 Statement Period.

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          21.   On June 26, 2018, DTBA filed its twelfth monthly fee statement for interim

 allowance and payment of compensation in the amount of $4,669.94 for the period from May 1,

 2018 through May 31, 2018 [Docket No. 3482] (the “Twelfth Monthly Statement Period”)

 pursuant to the Compensation Order, requesting payment for 80% of fees for the Twelfth Monthly

 Statement Period.

          22.   On July 18, 2018, DTBA filed its thirteenth monthly fee statement for interim

 allowance and payment of compensation in the amount of $57,441.84 for the period from January

 1, 2018 through June 30, 2018 [Docket No. 3598] (the “Thirteenth Monthly Statement Period”)

 pursuant to the Compensation Order, requesting payment for 80% of fees for the Thirteenth

 Monthly Statement Period.

                                    RELIEF REQUESTED

          23.   By this Final Application and pursuant to the terms and conditions set forth in the

 Engagement Agreements (as defined in the Retention Application and Supplemental Retention

 Application), DTBA requests compensation of 100% of its total fees in the amount of

 $228,786.30 incurred during the Final Application Period. DTBA did not incur any reimbursable

 expenses during the Final Application Period.        DTBA submits this Final Application in

 accordance with the Compensation Order, Retention Order, and Supplemental Retention Order.

 All services for which DTBA requests compensation were performed for, or on behalf of, the

 Debtors.

                                     BASIS FOR RELIEF

          24.   This Final Application is the final fee application submitted by DTBA in these

 cases.   By this Final Application, DTBA requests the approval of fees in the amount of

 $228,786.30 incurred during the Final Application Period.             The Applicant maintains

 computerized records of the time expended in the rendering of the professional services required

 by the Debtors. These records are maintained in the ordinary course of the Applicant’s business.

 A detailed statement of hours spent rendering professional services to the Debtors, in support of

 DTBA’s request of compensation for fees incurred during the Final Application Period, is
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 attached hereto as Exhibit A. Exhibit A (i) identifies the professionals and paraprofessionals that

 rendered services in each project category; and (ii) describes each service such professional or

 paraprofessional performed.

           25.       DTBA did not incur any reimbursable expenses during the Final Application

 Period.

           26.       No agreement or understanding exists between DTBA and any nonaffiliated or

 unrelated person or persons for the sharing of compensation received or to be received for

 professional services rendered in or in connection with these cases.

                              DESCRIPTION OF SERVICES RENDERED
           27.       DTBA served or advised the Debtors in the following areas throughout the Final

 Application Period. Detailed descriptions of these services, the amount of fees incurred, and the

 amount of hours spent providing services throughout the Final Application Period are also

 provided in the attached Exhibit.

 Valuation Services

 Hours 324.10; Amount $141,619.00

           •     DTBA assisted and advised the Debtors with their recognition and measurement of

                 the fair value of certain businesses, assets, and liabilities, for financial reporting and

                 tax planning purposes;

           •     DTBA assisted the Debtors by performing valuation analyses, and providing advice

                 and recommendations under Accounting Standards Codification (“ASC”) 805

                 (Business Combinations);

           •     DTBA assisted and advised the Debtors in connection with the Debtors’ annual good

                 will impairment testing of certain reporting units and a certain identified intangible

                 asset; and

           •     DTBA assisted the Debtors by performing related valuation analyses, advice and

                 recommendations under ASC 350 (Intangibles — Goodwill and Other).

 Discovery Services

 Hosting and Data Fees of $70,304.10



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        •     DTBA provided document review and electronic discovery services, including the

              collection of data, and processing, hosting, and production of data, in connection with

              the purchase price adjustment related to the Debtors’ acquisition of outstanding equity

              interests of certain entities. DTBA provided such services to the Debtors that are billed

              according to different metrics than hourly rates.

 Preparation of Fee Applications

 Hours 50.60; Amount $16,683.20

        •     During the Application Period, DTBA prepared monthly fee statements and interim

              fee applications for fees and services rendered during the Final Fee Period filed with

              the court.
                              ALLOWANCE OF COMPENSATION

        28.       Because of the benefits realized by the Debtors, the nature of services provided,

 the amount of work done, the time consumed and the skill required, DTBA requests that it be

 allowed, on a final basis, compensation for the professional services rendered during the Final

 Application Period in the sum of $228,786.30.

        29.       During the Final Application Period, allowance of compensation in the amount

 requested would result in a blended hourly billing rate for DTBA professionals of approximately

 $422.96. The fees charged by DTBA in these cases are billed in accordance with its existing

 billing structure and procedures in effect during the Final Application Period.

        30.       DTBA respectfully submits that the professional services rendered by DTBA on

 behalf of the Debtors during the Final Application Period were reasonable, necessary and

 appropriate to the administration of these chapter 11 cases and related matters.

        DTBA’S REQUESTED FEES SHOULD BE ALLOWED BY THIS COURT

        31.       Section 330 provides that a court may award a professional employed under

 section 327 of the Bankruptcy Code “reasonable compensation for actual, necessary services

 rendered . . . and reimbursement for actual, necessary expenses.” 11 U.S.C. § 330(a)(1). Section

 330 sets forth the criteria for the award of compensation and reimbursement:
                 In determining the amount of reasonable compensation to be awarded . . . the court
                 shall consider the nature, the extent, and the value of such services, taking into
                 account all relevant factors, including –


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                (a)       the time spent on such services;
                (b)       the rates charged for such services;
                (c)       whether the services were necessary to the administration of, or beneficial
                          at the time at which the service was rendered toward the completion of, a
                          case under this title;
                (d)       whether the services were performed within a reasonable amount of time
                          commensurate with the complexity, importance, and nature of the problem,
                          issue, or task addressed;
                (e)       with respect to a professional person, whether the person is board certified
                          or otherwise has demonstrated skill and experience in the bankruptcy field;
                          and
                (f)       whether the compensation is reasonable based on the customary
                          compensation charged by comparably skilled practitioners in cases other
                          than cases under this title.

 11 U.S.C. § 330(a)(3).

        32.     In the instant case, DTBA respectfully submits that the services for which it seeks

 compensation in this Final Application Period were necessary for and beneficial to the Debtors

 and were performed economically, effectively, and efficiently. DTBA further submits that the

 compensation requested herein is reasonable in light of the nature, extent, and value of such

 services to the Debtors and all parties-in-interest. Further, in accordance with the factors

 enumerated in section 330 of the Bankruptcy Code, the amount of fees requested is fair and

 reasonable given: (i) the complexity of these cases; (ii) the time expended; (iii) the nature and

 extent of the services rendered; (iv) the value of such services; and (v) the costs of comparable

 services other than in a case under the Bankruptcy Code. Accordingly, the approval of the

 compensation and expense reimbursement sought herein is warranted.
                       CERTIFICATE OF COMPLIANCE AND WAIVER

        33.     Finally, as set forth in Exhibit B attached hereto, the undersigned representative

 of DTBA certifies that DTBA has reviewed the requirements of rule 2016-1 of the Local Rules

 and that the Final Fee Application substantially complies with that Local Rule. To the extent that

 the Final Fee Application does not comply in all respects with the requirements of Local Rule

 2016-1, DTBA believes that such deviations are not material and respectfully requests that any

 such requirement be waived.




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                WHEREFORE, DTBA respectfully requests that the Court enter an order: (i)

 granting the allowance, on a final basis, of compensation for professional services rendered by

 the Applicant to the Debtors during the Final Application Period in the amount of $228,786.30,

 which represents 100% of the total compensation for professional services rendered by Applicant

 during the Final Application Period; and (ii) granting such other relief as may be just and proper.

 Dated: October 1, 2018
 Atlanta, GA                                          Respectfully submitted,

                                                      DELOITTE TRANSACTIONS AND
                                                      BUSINESS ANALYTICS LLP


                                                      /s/ Keith Adams
                                                      Keith Adams
                                                      Principal
                                                      191 Peachtree Street, Suite 2000
                                                      Atlanta, GA 30303-1749
                                                      Telephone: 404.631.3455
                                                      Facsimile: 404.443.9555




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                           EXHIBIT A




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                       Westinghouse Electric Company LLC
             Deloitte Transactions and Business Analytics LLP
                  Fees Sorted by Category for the Fee Period
                                       March 29, 2017 - June 30, 2018

Date                            Description                                 Rate    Hours       Fees

CA - Reports
06/01/2017
   Naga Jayadev, Mokkapati      Investigated and removed Active           $340.00     1.0    $340.00
                                Subscriptions for project based reports
   Subtotal for CA - Reports:                                                         1.0    $340.00

CA - Scripts
06/01/2017
   Tangudu, Praveen             Updated relativity email searches         $340.00     1.0    $340.00
                                based on disabled reports
   Subtotal for CA - Scripts:                                                         1.0    $340.00

Evidence - Logging & Tracking
05/10/2017
   Knowles, Suzanne             Logged new media entries for data         $340.00     0.6    $204.00
                                tapes.
   Subtotal for Evidence - Logging & Tracking:                                        0.6    $204.00

Interim Goodwill Impairment Test
06/01/2017
   Portocarrero Neyra, Manuel Review client provided data and             $388.00     3.1   $1,202.80
                              update valuation model with new data
   Portocarrero Neyra, Manuel Review and analyze updates to               $388.00     2.8   $1,086.40
                              Westinghouse Step 1 goodwill Model
                              for 3.31.17 assessment
06/02/2017
   Portocarrero Neyra, Manuel Update and review latest                    $388.00     1.2    $465.60
                              Westinghouse goodwill valuation
                              model
06/19/2017
   Ramakrishnan, Swetha         Prepare goodwill testing model by         $388.00     3.0   $1,164.00
                                analyzing formulas in the model and
                                recent market data reflected in model.
   Ramakrishnan, Swetha         Continue to prepare goodwill testing      $388.00     0.8    $310.40
                                model.




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                      Westinghouse Electric Company LLC
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                 Fees Sorted by Category for the Fee Period
                                      March 29, 2017 - June 30, 2018
Date                          Description                                Rate    Hours       Fees

Interim Goodwill Impairment Test
06/20/2017
   Portocarrero Neyra, Manuel Populate financials on goodwill          $388.00     2.6   $1,008.80
                              valuation model for Operating Plants
                              Business Reporting Unit
   Portocarrero Neyra, Manuel Update and analyze goodwill valuation    $388.00     3.1   $1,202.80
                              model for Operating Plants Business
                              Reporting Unit
   Ramakrishnan, Swetha       Review underlying market data of         $388.00     1.9    $737.20
                              guidline public companies and the
                              formula for discount rate calculation.
   Ramakrishnan, Swetha       Continue to review underlying data and   $388.00     2.1    $814.80
                              formula for multiple approach.
   Ramakrishnan, Swetha       Review of goodwill testing model to      $388.00     0.5    $194.00
                              ensure that the excel links, formulas
                              and formatting are correct and
                              consistent across the model.
06/21/2017
   Portocarrero Neyra, Manuel Update assumptions for Westinghouse      $388.00     1.8    $698.40
                              goodwill valuation model
   Portocarrero Neyra, Manuel Analyze Westinghouse goodwill            $388.00     2.3    $892.40
                              valuation model New Plants and Major
                              Projects Reporting Unit
   Ramakrishnan, Swetha       Continue review of goodwill testing      $388.00     3.0   $1,164.00
                              model to analyze model links for
                              correct data and errors in model
                              formula.
   Ramakrishnan, Swetha       Update goodwill testing model by         $388.00     2.8   $1,086.40
                              incorporating client data.
   Ramakrishnan, Swetha       Continue to update and review client     $388.00     1.2    $465.60
                              data, market data and assumptions in
                              the goodwill valuation model.
06/22/2017
   Portocarrero Neyra, Manuel Format Westinghouse goodwill             $388.00     2.2    $853.60
                              valuation model for New Plants and
                              Major Projects Reporting Unit
   Portocarrero Neyra, Manuel Format Westinghouse goodwill             $388.00     1.3    $504.40
                              valuation model for Operating Plants
                              Business Reporting Unit




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                      Westinghouse Electric Company LLC
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                   Fees Sorted by Category for the Fee Period
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Date                         Description                                  Rate    Hours       Fees

Interim Goodwill Impairment Test
06/22/2017
   Ramakrishnan, Swetha      Incorporate feedback from P.               $388.00     3.0   $1,164.00
                             Hannagan and M. Portocarrero
                             (Deloitte) in goodwill testing model.
   Ramakrishnan, Swetha      Continue to incorporate feedback from      $388.00     2.9   $1,125.20
                             P. Hannagan and M. Portocarrero
                             (Deloitte) in goodwill testing model.
   Ramakrishnan, Swetha      Continue incorporating feedback from       $388.00     1.1    $426.80
                             P. Hannagan and M. Portocarrero
                             (Deloitte) in goodwill testing model.
06/26/2017
   Kettles, Sara             Review client data related to the          $521.00     2.9   $1,510.90
                             goodwill impairment test to prepare for
                             valuing the Reporting Units
   Kettles, Sara             Review email correspondences from P.       $521.00     0.9    $468.90
                             Hannagan, M. Portocarrero Neyra, and
                             S. Ramakrishnan (Deloitte) related to
                             the goodwill impairment test
   Portocarrero Neyra, Manuel Update and analyze Westinghouse           $388.00     1.7    $659.60
                              goodwill valuation model
06/27/2017
   Adams, Keith              Meeting to discuss Westinghouse            $640.00     0.3    $192.00
                             goodwill valuation testing around client
                             expectations and timing of draft
                             deliverables with S. Kettles (Deloitte)
   Kettles, Sara             Meeting to discuss updates to              $521.00     0.5    $260.50
                             Westinghouse goodwill valuation
                             model and timing of draft deliverables
                             with M. Portocarrero Neyra (Deloitte)
   Kettles, Sara             Meeting to discuss Westinghouse            $521.00     0.3    $156.30
                             goodwill valuation testing around client
                             expectations and timing of draft
                             deliverables with K. Adams (Deloitte)

   Kettles, Sara             Prepare an independent goodwill            $521.00     0.6    $312.60
                             impairment test model to check
                             calculations in the goodwill valuation
                             models received from from M.
                             Portocarrero Neyra (Deloitte) and S.
                             Ramakrishnan (Deloitte)


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                   Fees Sorted by Category for the Fee Period
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Date                           Description                                 Rate    Hours       Fees

Interim Goodwill Impairment Test
06/27/2017
   Portocarrero Neyra, Manuel Meeting to discuss updates to              $388.00     0.5    $194.00
                              Westinghouse goodwill valuation
                              model and timing of draft deliverables
                              with S. Kettles (Deloitte)
   Portocarrero Neyra, Manuel Prepare comparisons between                $388.00     2.7   $1,047.60
                              Westinghouse goodwill valuation
                              models
06/28/2017
   Kettles, Sara               Draft email correspondences to            $521.00     0.3    $156.30
                               discuss the goodwill impairment test
   Kettles, Sara               Complete preparation of an                $521.00     0.9    $468.90
                               independent goodwill impairment test
                               model to check calculations in the
                               goodwill valuation models received
                               from from M. Portocarrero Neyra
                               (Deloitte) and S. Ramakrishnan
                               (Deloitte)

   Kettles, Sara               Continue to prepare an independent        $521.00     1.0    $521.00
                               goodwill impairment test model to
                               check calculations in the goodwill
                               valuation models received from from
                               M. Portocarrero Neyra (Deloitte) and S.
                               Ramakrishnan (Deloitte)
   Kettles, Sara               Continuing to prepare an independent      $521.00     2.8   $1,458.80
                               goodwill impairment test model to
                               check calculations in the goodwill
                               valuation models received from from
                               M. Portocarrero Neyra (Deloitte) and S.
                               Ramakrishnan (Deloitte)
   Portocarrero Neyra, Manuel Prepare comparisons between the            $388.00     1.9    $737.20
                              current goodwill impairment valuation
                              model prior goodwill impairment tests
                              to check for consistency.
   Portocarrero Neyra, Manuel Prepare and compile comparisons            $388.00     2.4    $931.20
                              between Westinghouse goodwill
                              valuation models
   Ramakrishnan, Swetha        Review and format of goodwill testing     $388.00     0.8    $310.40
                               model



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                      Westinghouse Electric Company LLC
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                   Fees Sorted by Category for the Fee Period
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Date                          Description                                Rate    Hours       Fees

Interim Goodwill Impairment Test
06/29/2017
   Kettles, Sara              Review other approaches in the           $521.00     2.6   $1,354.60
                              goodwill impairment model and provide
                              comments to M. Portocarrero Neyra
                              and S. Ramakrishnan (Deloitte)
                              regarding same


   Kettles, Sara              Draft email correspondence to M.         $521.00     0.3    $156.30
                              Portocarrero Neyra and S.
                              Ramakrishnan (Deloitte) with feedback
                              and comments regarding the goodwill
                              impairment model
   Kettles, Sara              Review tradename valuation in the        $521.00     1.6    $833.60
                              goodwill impairment model including
                              providing comments and feedback to
                              M. Portocarrero Neyra and S.
                              Ramakrishnan (Deloitte)
   Kettles, Sara              Draft email correspondence to M.         $521.00     0.3    $156.30
                              Portocarrero Neyra and S.
                              Ramakrishnan (Deloitte) providing
                              comments on the tradename valuation
   Kettles, Sara              Review discounted cash flow analysis     $521.00     0.9    $468.90
                              for the reporting units and provide
                              comments to M. Portocarrero Neyra
                              and S. Ramakrishnan (Deloitte)

   Kettles, Sara              Continue to review the discount rate     $521.00     2.3   $1,198.30
                              analysis of the reporting units and
                              provide comments to M. Portocarrero
                              Neyra (Deloitte) and S. Ramakrishnan
                              (Deloitte)
   Portocarrero Neyra, Manuel Continue to make revisions and edits     $388.00     1.1    $426.80
                              on the Westinghouse 3.31.17 goodwill
                              valuation model for Operating Plants
                              Business Reporting Unit
   Portocarrero Neyra, Manuel Make edits on the Westinghouse           $388.00     0.9    $349.20
                              valuation model for Operating Plants
                              Business Reporting Unit




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                      Westinghouse Electric Company LLC
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                   Fees Sorted by Category for the Fee Period
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Date                          Description                                  Rate    Hours       Fees

Interim Goodwill Impairment Test
06/29/2017
   Portocarrero Neyra, Manuel Make revisions and edits on the            $388.00     2.5    $970.00
                              Westinghouse 3.31.17 goodwill
                              valuation model for Operating Plants
                              Business Reporting Unit
   Ramakrishnan, Swetha       Continue to compare Client developed       $388.00     0.7    $271.60
                              projections of revenue and expenses
                              to similar projections for guideline
                              public companies.
   Ramakrishnan, Swetha       Compare Client developed projections       $388.00     3.0   $1,164.00
                              of revenue and expenses to similar
                              projections for guideline public
                              companies.
06/30/2017
   Kettles, Sara              Review supporting files for the goodwill   $521.00     0.6    $312.60
                              test model provided by M. Portocarrero
                              Neyra and S. Ramakrishnan (Deloitte)

   Kettles, Sara              Continue to review the supporting files    $521.00     2.3   $1,198.30
                              for the goodwill test model including
                              providing comments to M. Portocarrero
                              Neyra and S. Ramakrishnan (Deloitte)
   Kettles, Sara              Review updated goodwill test model         $521.00     3.1   $1,615.10
                              from M. Portocarrero Neyra and S.
                              Ramakrishnan (Deloitte) based on my
                              feedback provided
   Kettles, Sara              Draft email correspondence to M.           $521.00     0.3    $156.30
                              Portocarrero Neyra and S.
                              Ramakrishnan (Deloitte) providing
                              updates on the goodwill test model and
                              scheduling meetings for next week
   Portocarrero Neyra, Manuel Make revisions and edits on the            $388.00     2.1    $814.80
                              Westinghouse goodwill valuation
                              model for New Plants and Major
                              Projects Reporting Unit
   Ramakrishnan, Swetha       Research recent transactions of Client     $388.00     3.0   $1,164.00
                              and Client's competitors.
   Ramakrishnan, Swetha       Research recent recent news articles       $388.00     1.6    $620.80
                              of Client and Client's competitors.




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Date                          Description                                Rate    Hours       Fees

Interim Goodwill Impairment Test
06/30/2017
   Ramakrishnan, Swetha       Continue to research recent              $388.00     1.2    $465.60
                              transactions, industry and recent news
                              articles of Client and Client's
                              competitors.
07/05/2017
   Adams, Keith               Meeting to discuss Westinghouse          $640.00     1.2    $768.00
                              goodwill valuation model with S.
                              Kettles and M. Portocarrero Neyra
                              (Deloitte)
   Kettles, Sara              Review updated goodwill valuation        $521.00     2.0   $1,042.00
                              model
   Kettles, Sara              Continue to review updated goodwill      $521.00     1.8    $937.80
                              valuation model
   Kettles, Sara              Meeting to discuss Westinghouse          $521.00     1.2    $625.20
                              goodwill valuation model with K.
                              Adams and M. Portocarrero Neyra
                              (Deloitte)
   Kettles, Sara              Update assumptions in the income and     $521.00     2.5   $1,302.50
                              market approaches for the goodwill
                              testing model based on the team
                              meeting with K. Adams and M.
                              Portocarrero Neyra (Deloitte)
   Portocarrero Neyra, Manuel Continued to make edits to goodwill      $388.00     2.1    $814.80
                              valuation model for Westinghouse
                              valuation model
   Portocarrero Neyra, Manuel Make edits and review goodwill           $388.00     2.4    $931.20
                              valuation model for Westinghouse
   Portocarrero Neyra, Manuel Continue to make edits and review        $388.00     0.9    $349.20
                              goodwill valuation model for
                              Westinghouse
   Portocarrero Neyra, Manuel Meeting to discuss Westinghouse          $388.00     1.2    $465.60
                              goodwill valuation model with K.
                              Adams and S. Kettles (Deloitte)
07/06/2017
   Adams, Keith               Follow-up meeting to discuss updates     $640.00     0.6    $384.00
                              made to Westinghouse goodwill
                              valuation model with S. Kettles and M.
                              Portocarrero Neyra (Deloitte)



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                   Fees Sorted by Category for the Fee Period
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Date                           Description                                   Rate    Hours       Fees

Interim Goodwill Impairment Test
07/06/2017
   Kettles, Sara               Update the goodwill testing model after     $521.00     0.9    $468.90
                               team meeting related to the
                               Westinghouse valuation model

   Kettles, Sara               Draft email to J. Hiltz (WEC) to set up     $521.00     0.3    $156.30
                               meeting with her to discuss initial draft
                               valuation exhibits for interim goodwill
                               impairment test
   Kettles, Sara               Continue to review updates to the           $521.00     2.9   $1,510.90
                               goodwill valuation model prior to team
                               meeting regarding Westinghouse
                               valuation model
   Kettles, Sara               Follow-up meeting to discuss updates        $521.00     0.6    $312.60
                               made to Westinghouse goodwill
                               valuation model with K. Adams and M.
                               Portocarrero Neyra (Deloitte)
   Portocarrero Neyra, Manuel Follow-up meeting to discuss updates         $388.00     0.6    $232.80
                              made to Westinghouse goodwill
                              valuation model with K. Adams and S.
                              Kettles (Deloitte)
   Portocarrero Neyra, Manuel Format and revise goodwill valuation         $388.00     2.1    $814.80
                              model for Westinghouse
   Portocarrero Neyra, Manuel Continue to format and revise valuation      $388.00     1.1    $426.80
                              model for Westinghouse
   Portocarrero Neyra, Manuel Revise goodwill valuation model              $388.00     2.1    $814.80
                              including reviewing value calculations
                              and multiples in valuation model
07/07/2017
   Adams, Keith                Meeting with S. Kettles (Deloitte) to       $640.00     0.3    $192.00
                               discuss updates to the goodwill
                               valuation model
   Kettles, Sara               Meeting with K. Adams (Deloitte) to         $521.00     0.3    $156.30
                               discuss updates to the goodwill
                               valuation model
   Kettles, Sara               Update goodwill testing model based         $521.00     1.6    $833.60
                               on additional conversations with C.
                               Weber (WEC)




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Date                           Description                                  Rate    Hours       Fees

Interim Goodwill Impairment Test
07/07/2017
   Kettles, Sara               Draft email correspondence attaching       $521.00     0.3    $156.30
                               draft exhibit package of the goodwill
                               impairment testing to the client, C.
                               Weber, J. Hiltz, and D. Evankovich
                               (Westinghouse) for their feedback and
                               review
   Portocarrero Neyra, Manuel Analyze goodwill valuation model for        $388.00     2.8   $1,086.40
                              Westinghouse
07/10/2017
   Adams, Keith                Meeting to discuss requirements for        $640.00     0.6    $384.00
                               correctly reporting time on the goodwill
                               impairment engagement to be
                               compliant with bankruptcy court time
                               reporting requirements with P.
                               Hannagan, S. Kettles, M. Portocarrero
                               Neyra, S. Ramakrishnan, T. Wright
                               and M. Polachek (Deloitte)
   Hannagan, Peter             Meeting to discuss requirements for        $561.00     0.6    $336.60
                               reporting time on the goodwill
                               impairment engagement to be
                               compliant with bankruptcy court time
                               reporting requirements with K. Adams,
                               S. Kettles, M. Portocarrero Neyra, S.
                               Ramakrishnan, T. Wright and M.
                               Polachek (Deloitte)
   Kettles, Sara               Meeting to discuss requirements for        $521.00     0.6    $312.60
                               reporting time on the goodwill
                               impairment engagement to be
                               compliant with bankruptcy court time
                               reporting requirements with P.
                               Hannagan, K. Adams, M. Portocarrero
                               Neyra, S. Ramakrishnan, T. Wright
                               and M. Polachek (Deloitte)
   Portocarrero Neyra, Manuel Continue to review and analyze value        $388.00     1.1    $426.80
                              calculations and multiples in goodwill
                              valuation model




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Date                            Description                                 Rate    Hours       Fees

Interim Goodwill Impairment Test
07/10/2017
   Portocarrero Neyra, Manuel Meeting to discuss requirements for         $388.00     0.6    $232.80
                              reporting time on the goodwill
                              impairment engagement to be
                              compliant with bankruptcy court time
                              reporting requirements with P.
                              Hannagan, S. Kettles, K. Adams, S.
                              Ramakrishnan, T. Wright and M.
                              Polachek (Deloitte)
   Portocarrero Neyra, Manuel Review and analyze value conclusions        $388.00     2.6   $1,008.80
                              and multiples in goodwill valuation
                              model
07/12/2017
   Portocarrero Neyra, Manuel Conduct online market research              $388.00     2.6   $1,008.80
                              related to general U.S. and global
                              economic trends for Westinghouse
                              goodwill impairment report.
   Portocarrero Neyra, Manuel Continue online research related to the     $388.00     0.6    $232.80
                              factors and trends in the nuclear
                              industry for Westinghouse goodwill
                              impairment report.
   Portocarrero Neyra, Manuel Conduct online research related to the      $388.00     2.9   $1,125.20
                              factors and trends in the nuclear
                              industry for Westinghouse goodwill
                              impairment report.
   Portocarrero Neyra, Manuel Populate and fill in information relating   $388.00     2.6   $1,008.80
                              to goodwill valuation results and
                              methodologies on Westinghouse
                              report.
07/13/2017
   Barrazotto, Chip             Prepared Index prices from Bloomberg      $388.00     1.0    $388.00
                                for the Westinghouse goodwill report
   Kettles, Sara                Prepare the framework for the report      $521.00     1.6    $833.60
                                for the valuation analysis of the
                                goodwill impairment test
   Portocarrero Neyra, Manuel Populate base template for                  $388.00     2.7   $1,047.60
                              Westinghouse Report
   Portocarrero Neyra, Manuel Continued populating base template          $388.00     2.7   $1,047.60
                              for Westinghouse report.
   Portocarrero Neyra, Manuel Continued populating base template          $388.00     1.5    $582.00
                              for Westinghouse report.

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Date                          Description                                  Rate    Hours       Fees

Interim Goodwill Impairment Test
07/13/2017
   Portocarrero Neyra, Manuel Reviewing and editing Westinghouse         $388.00     2.7   $1,047.60
                              report for goodwill impairment test.
07/14/2017
   Portocarrero Neyra, Manuel Review Westinghouse Report for             $388.00     2.4    $931.20
                              goodwill impairment test
07/17/2017
   Kettles, Sara              Review goodwill impairment report and      $521.00     2.9   $1,510.90
                              provide feedback and comments to the
                              M. Portocarrero Neyra (Deloitte)
   Kettles, Sara              Continue the review of the goodwill        $521.00     1.1    $573.10
                              impairment report and provide
                              feedback and comments to M.
                              Portocarrero Neyra (Deloitte)
   Portocarrero Neyra, Manuel Review Westinghouse draft report for       $388.00     2.6   $1,008.80
                              goodwill impairment test
   Portocarrero Neyra, Manuel Continue to review Westinghouse draft      $388.00     0.7    $271.60
                              report for goodwill impairment test
07/19/2017
   Adams, Keith               Reviewed the 3/31 goodwill impairment      $640.00     1.2    $768.00
                              analysis
   Hannagan, Peter            Review revisions to goodwill               $561.00     0.6    $336.60
                              impairment analysis
   Kettles, Sara              Update discount rate analysis for          $521.00     1.7    $885.70
                              goodwill impairment model for updated
                              data provided by C. Weber, J. Hiltz,
                              and D. Evankovich (WEC)
   Kettles, Sara              Review updates to the draft exhibits for   $521.00     0.6    $312.60
                              the goodwill impairment test provided
                              by M. Portocarrero Neyra (Deloitte)
   Portocarrero Neyra, Manuel Update Westinghouse goodwill               $388.00     1.7    $659.60
                              valuation model with new projection
                              data provided by J. Hiltz
                              (Westinghouse)]
   Portocarrero Neyra, Manuel Continued updating Westinghouse            $388.00     2.3    $892.40
                              goodwill valuation model with new
                              information provided by J. Hiltz
                              (Westinghouse)



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Interim Goodwill Impairment Test
07/19/2017
   Portocarrero Neyra, Manuel Continued updating Westinghouse            $388.00     1.1    $426.80
                              goodwill valuation model with new
                              information provided by J. Hiltz
                              (Westinghouse)
07/20/2017
   Kettles, Sara               Call with J. Hiltz (WEC) to discuss       $521.00     0.3    $156.30
                               questions based on the updated exhibit
                               package for the goodwill impairment
                               test

   Kettles, Sara               Analyze internal approvals for the        $521.00     1.0    $521.00
                               exhibits and report for the goodwill
                               impairment test
   Kettles, Sara               Review updated valuation written          $521.00     0.3    $156.30
                               report for goodwill impairment test
                               based on current draft exhibits sent to
                               the client, C. Weber, J. Hiltz, and D.
                               Evankovich (Westinghouse)

   Portocarrero Neyra, Manuel Revise Westinghouse goodwill               $388.00     1.6    $620.80
                              valuation excel model
   Portocarrero Neyra, Manuel Make revision to Westinghouse              $388.00     2.9   $1,125.20
                              narrative report for goodwill impairment
                              test
   Portocarrero Neyra, Manuel Continued reviewing and formatting         $388.00     1.5    $582.00
                              draft goodwill valuation exhibits and
                              report package
07/26/2017
   Kettles, Sara               Review internal approvals for the         $521.00     0.6    $312.60
                               exhibits and report for the goodwill
                               impairment test based on the updated
                               valuation
07/27/2017
   Moss, Kevin                 Review work product for goodwill          $640.00     1.5    $960.00
                               impairment test




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Interim Goodwill Impairment Test
08/11/2017
   Adams, Keith                Participate in conference call with P.    $640.00     0.5    $320.00
                               Hannagan (Deloitte), C. Weber and D.
                               Evancovich (Westinghouse) to discuss
                               PwC's requests related to sensitivity
                               analysis for the March 31, 2017
                               goodwill impairment test.
   Adams, Keith                Participate in conference call to         $640.00     0.5    $320.00
                               discuss sensitivity analyses related to
                               certain impacts to Westinghouses'
                               goodwill impairment analyses with P.
                               Hannagan (Deloitte) and C. Weber
                               (Westinghouse)
   Hannagan, Peter             Participate in conference call to         $561.00     0.5    $280.50
                               discuss sensitivity analyses related to
                               certain impacts to Westinghouses'
                               goodwill impairment analyses with K.
                               Adams (Deloitte) and C. Weber
                               (Westinghouse)
   Hannagan, Peter             Participate in conference call with K.    $561.00     0.5    $280.50
                               Adams (Deloitte), C. Weber and D.
                               Evancovich (Westinghouse) to discuss
                               PwC's requests related to sensitivity
                               analysis for the March 31, 2017
                               goodwill impairment test.
08/15/2017
   Adams, Keith                Participate in conference call to         $640.00     0.6    $384.00
                               discuss certain impacts to
                               Westhinghouses' goodwill impairment
                               analyses with P. Hannagan (Deloitte),
                               C. Weber, D. Evancovich
                               (Westinghouse) and PwC Audit team
   Hannagan, Peter             Participate in conference call to         $561.00     0.6    $336.60
                               discuss certain impacts to
                               Westhinghouses' goodwill impairment
                               analyses with K. Adams (Deloitte), C.
                               Weber, D. Evancovich (Westinghouse)
                               and PwC Audit team
08/18/2017
   Portocarrero Neyra, Manuel Revise narrative report relating to        $388.00     2.9   $1,125.20
                              Westinghouse goodwill evaluation
                              model test

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Interim Goodwill Impairment Test
09/07/2017
   Adams, Keith                Call with P. Hannagan (Deloitte) to       $640.00     0.5     $320.00
                               review and discuss the data and
                               assumptions for 3/31 goodwil testing
                               sensitivity analysis with VC Summer
                               impacts.
   Hannagan, Peter             Call with K. Adams (Deloitte) to review   $561.00     0.5     $280.50
                               and discuss the data and assumptions
                               for 3/31 goodwil testing sensitivity
                               analysis with VC Summer impacts.
09/11/2017
   Portocarrero Neyra, Manuel Incorporate adjustments to                 $388.00     2.7    $1,047.60
                              Westinghouse goodwill valuation
                              model based on information received
                              from C. Weber (Westinghouse)
   Portocarrero Neyra, Manuel Continued incorporating adjustments        $388.00     1.8     $698.40
                              to Westinghouse goodwill valuation
                              model based on information received
                              from C. Weber (Westinghouse)
09/12/2017
   Hannagan, Peter             Review revisions made to March 31         $561.00     0.9     $504.90
                               2017 goodwill impairment test model
09/13/2017
   Portocarrero Neyra, Manuel Update and edit balance sheet              $388.00     2.7    $1,047.60
                              information in goodwill valuation model
                              based on information received from J.
                              Hiltz (Westinghouse)
09/15/2017
   Portocarrero Neyra, Manuel Revise and edit Westinghouse goodwill      $388.00     2.8    $1,086.40
                              valuation report to reflect updated
                              values and assumptions.
10/13/2017
   Adams, Keith                Review and signed final valuation         $640.00     0.5     $320.00
                               report for 3/31/17 goodwill impairment
                               test.
   Subtotal for Interim Goodwill Impairment Test:                                  199.5   $86,821.00




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Date                      Description                                   Rate    Hours      Fees

Preparation of Fee Applications
08/10/2017
   Cooper, Carla          Prepare combined monthly fee                $350.00     1.5    $525.00
                          statement for April through May
08/11/2017
   Cooper, Carla          Prepare April monthly fee reports for       $350.00     1.8    $630.00
                          fee statement
   Cooper, Carla          Prepare May monthly fee reports for         $350.00     1.5    $525.00
                          fee statement
   Cooper, Carla          Prepare June monthly fee reports for        $350.00     1.7    $595.00
                          fee statement
08/17/2017
   Cooper, Carla          Review time reports to prepare July         $350.00     2.8    $980.00
                          monthly fee statement
   Cooper, Carla          Review valuation time reports to            $350.00     1.6    $560.00
                          prepare June monthly fee statement
08/18/2017
   Cooper, Carla          Continue to prepare monthly fee             $350.00     1.7    $595.00
                          statement for the period March 29,
                          2017 through June 30, 2017
   Cooper, Carla          Prepare combined monthly fee                $350.00     2.3    $805.00
                          statement for the period March 29,
                          2017 through June 30, 2017
08/21/2017
   Cooper, Carla          Prepare expense reports for July fee        $350.00     2.1    $735.00
                          statement
08/28/2017
   Cooper, Carla          Prepare July monthly fee statement          $350.00     1.8    $630.00
08/29/2017
   Cooper, Carla          Preparation of first interim fee            $350.00     2.4    $840.00
                          application for the period March 29,
                          2017 through July 31, 2017
   Cooper, Carla          Continue preparation of first interim fee   $350.00     1.0    $350.00
                          application
09/06/2017
   Cooper, Carla          Preparation of first interim fee            $350.00     1.0    $350.00
                          application


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Date                      Description                                   Rate    Hours      Fees

Preparation of Fee Applications
09/07/2017
   Cooper, Carla          Prepare July monthly fee statement          $350.00     0.6    $210.00
09/08/2017
   Cooper, Carla          Continue preparation of first interim fee   $350.00     1.1    $385.00
                          application
   Cooper, Carla          Prepare first interim fee application.      $350.00     2.5    $875.00
09/11/2017
   Cooper, Carla          Preparation of first interim fee            $350.00     0.5    $175.00
                          application.
09/12/2017
   Cooper, Carla          Prepare first interim fee application for   $350.00     0.8    $280.00
                          the period March 29, 2017 through July
                          31, 2017
09/14/2017
   Cooper, Carla          Finalize preparation of first interim fee   $350.00     1.5    $525.00
                          application exhibits.
09/15/2017
   Cooper, Carla          Review time reports to prepare August       $350.00     0.7    $245.00
                          monthly fee statement
09/18/2017
   Cooper, Carla          Prepare August monthly fee statement        $350.00     0.7    $245.00
09/22/2017
   Cooper, Carla          Prepare August monthly fee statement        $350.00     1.5    $525.00
09/28/2017
   Cooper, Carla          Edits to August 2017 monthly fee            $350.00     0.7    $245.00
                          statement for filing.
   Cooper, Carla          Prepare August 2017 monthly fee             $350.00     0.9    $315.00
                          statement.
09/29/2017
   Cooper, Carla          Complete preparation of August 2017         $350.00     0.5    $175.00
                          monthly fee statement.
10/09/2017
   Cooper, Carla          Review time reports to prepare              $350.00     0.5    $175.00
                          September 2017 monthly fee
                          statement.

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Date                      Description                                  Rate   Hours      Fees

Preparation of Fee Applications
10/10/2017
   Cooper, Carla          Review time reports to prepare            $350.00     1.3    $455.00
                          September 2017 monthly fee
                          statement.
   Cooper, Carla          Email correspondence with J. Race         $350.00     0.2     $70.00
                          (Deloitte) regarding fee statement
                          process.
10/11/2017
   Cooper, Carla          Prepare September 2017 monthly fee        $350.00     1.9    $665.00
                          statement.
10/16/2017
   Cooper, Carla          Edits to September 2017 monthly fee       $350.00     0.6    $210.00
                          statement for filing.
11/20/2017
   Abrom, Carisa          Prepare October monthly fee               $350.00     1.8    $630.00
                          statement.
12/01/2017
   Abrom, Carisa          Prepare November monthly fee              $350.00     1.8    $630.00
                          statement.
01/16/2018
   Abrom, Carisa          Prepare December monthly fee              $350.00     0.7     $53.79
                          statement.
   Abrom, Carisa          Prepare November monthly fee              $350.00     0.8     $61.47
                          statement.
01/22/2018
   Abrom, Carisa          Prepare second interim fee application.   $350.00     1.6    $122.94
04/17/2018
   Abrom, Carisa          Prepare March monthly fee statement.      $350.00     1.3    $455.00
04/18/2018
   Abrom, Carisa          Revise March monthly fee statement.       $350.00     0.8    $280.00
04/24/2018
   Abrom, Carisa          Finalize March monthly fee statement      $350.00     0.3    $105.00
                          for filing.




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Date                            Description                                  Rate    Hours        Fees

Preparation of Fee Applications
05/14/2018
   Abrom, Carisa                Prepare third interim fee application.     $350.00     1.8     $630.00
   Subtotal for Preparation of Fee Applications:                                      50.6   $16,863.20

Project Management
03/30/2017
   Savage Jones, Colette        Created searches for the discovery         $473.00     0.7     $331.10
                                review process
04/03/2017
   Cruz, Vinnrique (Nikki)      Performed quality control for the          $406.00     0.8     $324.80
                                discovery email database
04/04/2017
   Cruz, Vinnrique (Nikki)      Reviewed database permissions for          $406.00     0.5     $203.00
                                the database of discovery emails
   Cruz, Vinnrique (Nikki)      Updated database permissions for the       $406.00     0.6     $243.60
                                database of discovery emails
04/12/2017
   Savage Jones, Colette        Updated relativity search requests for     $473.00     0.5     $236.50
                                discovery email review
04/14/2017
   Savage Jones, Colette        Updated email threading search             $473.00     0.3     $141.90
                                priorities for discovery email review
04/17/2017
   Savage Jones, Colette        Reviewed machine assisted translation      $473.00     0.4     $189.20
                                requirements for discovery dispute
                                emails
   Subtotal for Project Management:                                                    3.8    $1,670.10

Technical Support
03/29/2017
   Amey, Felix                  Draft login emails and sent to users for   $340.00     0.3     $102.00
                                Relativity access
   Subtotal for Technical Support:                                                     0.3     $102.00




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Trade Name Impairment Test
01/16/2018
   Hannagan, Peter        Discuss trade name impairment test       $561.00     1.0    $561.00
                          requirements with C. Weber
                          (Westinghouse).
01/17/2018
   Hannagan, Peter        Review prior Westinghouse trade          $561.00     1.8   $1,009.80
                          name impairment test analyses to
                          develop information request.
02/02/2018
   Adams, Keith           Discuss trade name impairment test       $640.00     0.5    $320.00
                          with C. Weber (Westinghouse).
02/12/2018
   Adams, Keith           Call with J. Young, C. Weber, J. Hiltz   $640.00     1.2    $768.00
                          (Westinghouse) and P. Hannagan and
                          T. Sawyer (Deloitte) on Westinghouse
                          business plan.
   Hannagan, Peter        Call with J. Young, C. Weber, J. Hiltz   $561.00     1.2    $673.20
                          (Westinghouse) and K. Adams and T.
                          Sawyer (Deloitte) on Westinghouse
                          business plan.
   Sawyer, Thomas         Call with J. Young, C. Weber, J. Hiltz   $388.00     1.2    $465.60
                          (Westinghouse) and P. Hannagan and
                          K. Adams (Deloitte) on Westinghouse
                          business plan.
02/20/2018
   Barrazotto, Chip       Meeting with P. Hannagan (Deloitte) to   $388.00     0.4    $155.20
                          discuss trade name impairment
                          valuation project.
   Barrazotto, Chip       Research the weighted average cost of    $388.00     3.3   $1,280.40
                          capital analysis for Westinghouse
                          Electric Company LLC.
   Barrazotto, Chip       Review of Westinghouse projections,      $388.00     2.8   $1,086.40
                          including WEC Business Plan and the
                          WEC 2018 Trade Name Impairment
                          Test Statement of Work between
                          Westinghouse and Deloitte.




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Trade Name Impairment Test
02/20/2018
   Barrazotto, Chip       Review the Westinghouse Goodwill           $388.00     1.7    $659.60
                          Impairment testing report as of
                          December 31, 2016 to compare and
                          support certain valuation inputs
                          selected.
   Hannagan, Peter        Meeting with C. Barrazotto (Deloitte) to   $561.00     0.4    $224.40
                          discuss trade name impairment
                          valuation project.
02/21/2018
   Barrazotto, Chip       Create a historical balance sheet for      $388.00     2.1    $814.80
                          Westinghouse.
   Barrazotto, Chip       Create an exhibit to estimate the fair     $388.00     3.5   $1,358.00
                          value of the Westinghouse Trade
                          Name using the relief from royalty
                          valuation method and financial
                          information provided by Westinghouse.
   Barrazotto, Chip       Create an exhibit to estimate the          $388.00     3.4   $1,319.20
                          Internal Rate of Return using the
                          financial information and projections
                          provided by Westinghouse.
02/22/2018
   Barrazotto, Chip       Create an exhibit in the Trade Name        $388.00     2.7   $1,047.60
                          valuation model to estimate the
                          weighted average return on assets.
   Barrazotto, Chip       Review and edit the trade name             $388.00     3.2   $1,241.60
                          valuation model, including current
                          exhibits.
   Barrazotto, Chip       Update trade name valuation model.         $388.00     2.6   $1,008.80
02/23/2018
   Barrazotto, Chip       Edit Westinghouse trade name               $388.00     2.2    $853.60
                          valuation model.
   Barrazotto, Chip       Discuss trade name impairment test         $388.00     0.5    $194.00
                          model with P. Hannagan (Deloitte).
   Barrazotto, Chip       Update industry, company, economic         $388.00     3.6   $1,396.80
                          and valuation analysis summary
                          sections of the Westinghouse trade
                          name impairment testing report.



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Trade Name Impairment Test
02/23/2018
   Barrazotto, Chip       Prepare draft of report for              $388.00     3.2   $1,241.60
                          Westinghouse trade name impairment
                          testing valuation.
   Hannagan, Peter        Discuss trade name impairment test       $561.00     0.5    $280.50
                          model with C. Barrazotto (Deloitte).
02/26/2018
   Barrazotto, Chip       Revise Westinghouse trade name           $388.00     3.1   $1,202.80
                          valuation exhibit.
   Barrazotto, Chip       Update trade name valuation sections     $388.00     3.4   $1,319.20
                          of the Westinghouse trade name
                          impairment report.
02/27/2018
   Barrazotto, Chip       Revise Westinghouse trade name           $388.00     1.1    $426.80
                          valuation exhibit.
02/28/2018
   Barrazotto, Chip       Update the trade name impairment         $388.00     0.3    $116.40
                          analysis for the new tax rate.
03/01/2018
   Barrazotto, Chip       Analyze exhibits in Westinghouse         $388.00     1.4    $543.20
                          trade name model were linked
                          correctly, including updating final
                          assumptions of draft model.
   Barrazotto, Chip       Update Westinghouse trade name           $388.00     2.7   $1,047.60
                          impairment model.
   Hannagan, Peter        Review valuation model for               $561.00     2.4   $1,346.40
                          Westinghouse trade name impairment
                          test.
03/02/2018
   Hannagan, Peter        Read emails from J. Hiltz                $561.00     1.0    $561.00
                          (Westinghouse) regarding trade name
                          impairment test information.
   Hannagan, Peter        Provide comments to C. Barrazotto        $561.00     2.9   $1,626.90
                          (Deloitte) via email on first draft of
                          impairment test model.




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Trade Name Impairment Test
03/05/2018
   Barrazotto, Chip          Meeting with P. Hannagan (Deloitte),       $388.00     0.4    $155.20
                             C. Weber (Westinghouse), and J. Hiltz
                             (Westinghouse) to discuss trade name
                             impairment valuation project.
   Barrazotto, Chip          Update Westinghouse trade name             $388.00     2.4    $931.20
                             impairment model based on meeting
                             with P. Hannagan, C. Weber, and J.
                             Hiltz.
   Barrazotto, Chip          Update Westinghouse trade name             $388.00     3.3   $1,280.40
                             impairment model.
   Hannagan, Peter           Review draft interim trade name            $561.00     1.6    $897.60
                             impairment test analysis.
   Hannagan, Peter           Meeting with C. Barrazotto (Deloitte),     $561.00     0.4    $224.40
                             C. Weber (Westinghouse), and J. Hiltz
                             (Westinghouse) to discuss trade name
                             impairment valuation project.
03/06/2018
   Adams, Keith              Review draft trade name imapirment         $640.00     2.0   $1,280.00
                             test.
   Barrazotto, Chip          Finalize first draft of the trade name     $388.00     2.2    $853.60
                             impairment model.
   Hannagan, Peter           Review revised draft interim trade         $561.00     1.9   $1,065.90
                             name impairment test analysis.
03/07/2018
   Adams, Keith              Review revised draft trade name            $640.00     1.9   $1,216.00
                             imapirment test.
03/08/2018
   Ramakrishnan, Swetha      Perform math check for trade name          $388.00     3.0   $1,164.00
                             valuation model for Westinghouse.
03/12/2018
   Barrazotto, Chip          Perform additional Nuclear/Electric        $388.00     3.3   $1,280.40
                             Industry research to finalize respective
                             sections of the trade name impairment
                             report.
   Barrazotto, Chip          Update trade name impairment report.       $388.00     3.2   $1,241.60




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Trade Name Impairment Test
03/13/2018
   Barrazotto, Chip       Set up archive for Westinghouse trade    $388.00     1.7    $659.60
                          name impairment documents.
   Barrazotto, Chip       Review Westinghouse trade name           $388.00     2.7   $1,047.60
                          impairment model.
   Hannagan, Peter        Review additional information provided   $561.00     1.1    $617.10
                          by J. Hiltz (Westinghouse) for trade
                          name impairment test.
03/14/2018
   Barrazotto, Chip       Gather materials to respond to initial   $388.00     2.3    $892.40
                          review comments in regards to the
                          Westinghouse Trade Name impairment
                          model.
03/16/2018
   Barrazotto, Chip       Meeting with P. Hannagan (Deloitte)      $388.00     0.5    $194.00
                          and J. Hiltz (Westinghouse) to discuss
                          certain exhibits and balance sheet
                          items for the Westinghouse trade
                          name impairment model.
   Hannagan, Peter        Meeting with C. Barrazotto (Deloitte)    $561.00     0.5    $280.50
                          and J. Hiltz (Westinghouse) to discuss
                          certain exhibits and balance sheet
                          items for the Westinghouse trade
                          name impairment model.
03/26/2018
   Barrazotto, Chip       Update Westinghouse trade name           $388.00     2.3    $892.40
                          impairment model.
   Hannagan, Peter        Review trade name impairment test        $561.00     3.4   $1,907.40
                          report.
03/27/2018
   Barrazotto, Chip       Update Westinghouse trade name           $388.00     1.7    $659.60
                          impairment report.
03/28/2018
   Adams, Keith           Review Westinghouse trade name           $640.00     1.2    $768.00
                          impairment test narrative report.
03/29/2018
   Hannagan, Peter        Address review comments on trade         $561.00     0.5    $280.50
                          name impairment test report.


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                       Westinghouse Electric Company LLC
             Deloitte Transactions and Business Analytics LLP
                 Fees Sorted by Category for the Fee Period
                                      March 29, 2017 - June 30, 2018
Date                          Description                                Rate    Hours         Fees

Trade Name Impairment Test
04/02/2018
   Barrazotto, Chip           Finalize Westinghouse trade name         $388.00     1.8      $698.40
                              impairment report.
04/03/2018
   Barrazotto, Chip           Archive final workpapers for             $388.00     1.7      $659.60
                              Westinghouse trade name impairment
                              analysis.
04/04/2018
   Kandukuri, Pavani          Review deliverables for Westinghouse     $388.00     0.3      $116.40
                              trade name impairment test.
04/05/2018
   Moss, Kevin                Review deliverables for Westinghouse     $640.00     1.5      $960.00
                              trade name impairment test.
04/09/2018
   Barrazotto, Chip           Respond to PwC's questions regarding     $388.00     2.2      $853.60
                              the trade name impairment model,
                              including preparation of supporting
                              documentation.
   Hannagan, Peter            Review trade name impairment model       $561.00     2.1     $1,178.10
                              and supporting documentation.
04/12/2018
   Barrazotto, Chip           Revise trade name impairment test        $388.00     0.5      $194.00
                              report.
04/16/2018
   Moss, Kevin                Review revised deliverables for          $640.00     1.5      $960.00
                              Westinghouse trade name impairment
                              test.
05/17/2018
   Barrazotto, Chip           Finalize trade name impairment           $388.00     1.0      $388.00
                              report/exhibits.
05/21/2018
   Barrazotto, Chip           Consolidated the finalized trade name    $388.00     0.5      $194.00
                              impairment report and exhibits and
                              sent to Westinghouse.
    Subtotal for Trade Name Impairment Test:                                     117.9   $52,141.90
Total                                                                            374.7   $158,482.20


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                Westinghouse Electric Company LLC
     Deloitte Transactions and Business Analytics LLP
          Fees Sorted by Category for the Fee Period
                               March 29, 2017 - June 30, 2018




                                  Recapitulation
Name                                                 Rate       Hours           Fees
Adams, Keith                                    $640.00          13.6       $8,704.00
Moss, Kevin                                     $640.00           4.5       $2,880.00
Hannagan, Peter                                 $561.00          26.9      $15,090.90
Kettles, Sara                                   $521.00          49.6      $25,841.60
Savage Jones, Colette                           $473.00           1.9        $898.70
Cruz, Vinnrique (Nikki)                         $406.00           1.9        $771.40
Barrazotto, Chip                                $388.00          81.9      $31,777.20
Kandukuri, Pavani                               $388.00           0.3        $116.40
Portocarrero Neyra, Manuel                      $388.00         103.8      $40,274.40
Ramakrishnan, Swetha                            $388.00          35.6      $13,812.80
Sawyer, Thomas                                  $388.00           1.2        $465.60
Abrom, Carisa                                   $350.00          10.9       $2,730.00
Cooper, Carla                                   $350.00          39.7      $13,895.00
Amey, Felix                                     $340.00           0.3        $102.00
Knowles, Suzanne                                $340.00           0.6        $204.00
Naga Jayadev, Mokkapati                         $340.00           1.0        $340.00
Tangudu, Praveen                                $340.00           1.0        $340.00




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                           EXHIBIT B




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 Deloitte Transactions and Business Analytics LLP
 191 Peachtree Street, Suite 2000
 Atlanta, GA 30303-1749
 Telephone: 404.631.3455
 Facsimile: 404.443.9555
 Keith Adams

 Valuation and Discovery Services Provider
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 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al.,  1
                                                                 | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
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       CERTIFICATION UNDER GUIDELINES FOR FEES AND DISBURSEMENTS
                 FOR PROFESSIONALS IN RESPECT OF FINAL FEE
     APPLICATION BY DELOITTE TRANSACTIONS AND BUSINESS ANALYTICS LLP
        FOR COMPENSATION FOR SERVICES RENDERED AS VALUATION AND
               DISCOVERY SERVICES PROVIDER TO THE DEBTORS
             FOR THE PERIOD MARCH 29, 2017 THROUGH JUNE 30, 2018

 Keith Adams, deposes and says:
                     1.        I am a principal of Deloitte Transactions and Business Analytics LLP
 (“DTBA”), which has an office located at 191 Peachtree Street, Suite 2000, Atlanta, GA 30303.
 I make this certification in connection with the final fee application (the “Final Application”) of
 DTBA, in the above-captioned debtors’ (the “Debtors”) chapter 11 cases.
                     2.        I submit this certification with respect to DTBA’s compliance with and
 pursuant to the Court’s General Order M-447, the Amended Guidelines for Fees and
 Disbursements for Professionals in the Southern District of New York adopted by the Court on
 November 25, 2009 (the “Local Guidelines”), and the United States Trustee Guidelines for

 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any,
 are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC
 (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR
 Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250),
 Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone & Webster, Inc. d/b/a WECTEC Global
 Project Services Inc. (8572); Stone & Webster International Inc. (1586), Stone & Webster Services LLC (5448), Toshiba Nuclear
 Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348), WEC Carolina Energy Solutions, Inc. (8735),
 WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc. (6759), WEC Equipment & Machining Solutions,
 LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC (8771), WECTEC Contractors Inc. (4168),
 WECTEC LLC (6222), WECTEC Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse
 Industry Products International Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse
 Technology Licensing Company LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry
 Township, Pennsylvania 16066.
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 Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C.
 §330, effective January 30, 1996 (the “UST Guidelines”) (collectively, and with the Order to
 Establish Procedures for Interim Compensation and Reimbursement of Expenses of Professionals
 entered in these cases on May 24, 2017 (the “Compensation Order”) the “Guidelines”).
               3.       In compliance with the Guidelines, I hereby certify that:
                        a.     I have read the Final Application and am familiar with the services
               for which compensation is being sought that are described therein;
                        b.     To the best of my knowledge, information and belief, the fees and
               disbursement sought in the Final Application are in substantial compliance with
               the Guidelines.
                        c.     The fees and disbursements sought in the Final Application are
               billed at rates or in accordance with practice customarily employed by DTBA for
               similar services and generally accepted by DTBA’s clients.
                        d.     To the extent applicable, DTBA has not made a profit with respect
               to the expenses, if any, requested in the Final Application.
                        e.     No agreement or understanding exists between DTBA and any
               other non-affiliated or unrelated person or persons for the sharing of compensation
               received or to be received for professional services rendered in or in connection
               with these cases.
                        f.     DTBA has not entered into any agreement with the office of the
               United States Trustee, the Debtors, any creditor or any other party in interest, for
               the purpose of fixing the amount of any of the fees or other compensation allowed
               out of or paid from the assets of the Debtors.
                        g.     Copies of the Final Application were provided to the appropriate
               parties on or about the date set for the filing of applications by the Compensation
               Order.


                                              /s/ Keith Adams
                                              Keith Adams
                                              Principal

 Dated: October 1, 2018


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